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                        United States District Court
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                        Central District of California
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11   JOSE SOTO,                              Case № 5:22-cv-02092-ODW (AGRx)
12
                Plaintiff,                   ORDER OF DISMISSAL WITHOUT
13                                           PREJUDICE
14              v.
15
     SAFELITE FULFILLMENT, INC. ET
16   AL.,
17
                Defendants.
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Case 5:22-cv-02092-ODW-AGR Document 47 Filed 04/29/24 Page 2 of 2 Page ID #:274




 1         The Court, having considered the parties’ Joint Stipulation for Dismissal
 2   Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby
 3   dismisses without prejudice the above-entitled action. The Court VACATES all dates
 4   and deadlines. The Clerk of the Court shall close the case.
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 6
           IT IS SO ORDERED.
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           April 29, 2024
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                                  ____________________________________
11                                         OTIS D. WRIGHT, II
12                                 UNITED STATES DISTRICT JUDGE

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